Case 2:O4-cr-20049-SHI\/| Document 122 Filed 06/13/05 Page 1 of 2 Page|D 151

" " ' L&]V B.‘J»

IN THE UNITED sTATES DIsTRIcT coURT T‘“-E~'B iii '
FoR THE wEsTERN DISTRICT oF TENNESSEE q o _07
wEsTERN DIVISION 05 JUr-¥. l._, PH 5- ~.»

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UNITED STATES OF AMERICA,
Plaintiff,
CR. NO. 04-20049-Ma

VS.

TAMEIKA MICKENS,

-_,~._,~_»~_»~_/-_._,~_._,~_._,~.._,¢

Defendant.

 

ORDER ON CONTINUANCE AND SPECIFYING PERIOD OF EXCLUDABLE DELAY

 

This cause came on for a report date on May 31, 2005. Defense
Counsel requested a continuance of the present trial date in order
to allow for additional preparation in the case and to allow for
the disposition of the pending Motion to Suppress.

The Court granted the request and continued the trial date to
the rotation docket beginning July 5, 2005 at 9:30 a.m., with a
report date of Friday, June 24, 2005 at 2:00 p.m.

The period. fron\ May 31, 2005 through. July 15, 2005 is
excludable under 18 U.S.C. §§ 3l6l{h)(8)(B)(iv) and 3161{h)(l){F)
because the interests of justice in allowing additional time to

prepare and the need to dispose of the pending motion outweigh the

la%\

need for a speedy trial.

IT IS SO ORDERED this day of June, 2005.

sAMUEL H. MAYS, JR.
wmameBB UN:TED sTATES DISTRICT JUDGE

 

 

 

Notice of Distribution

This notice confirms a copy of the document docketed as number 122 in
case 2:04-CR-20049 Was distributed by faX, mail, or direct printing on
June 14, 2005 to the parties listed.

 

 

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Honorable Samuel Mays
US DISTRICT COURT

